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                                                                AUSA:      Susan Fairchild                 Telephone: (313) 226-9100
AO ')! (Rev. 11/1 1) Criminal Complainl            Officer:                Dustyn Swendsen                 Telephone: (313)394-5457


                                          United States District Court
                                                                 for the

                                                  Eastern District of Michigan
                                                                                             Case: 2:23−mj−30343
                                                                                             Assigned To : Unassigned
United States of America

                                                                                             Assign. Date : 8/21/2023
    V.


Gregorio VIGIL RESENDIZ                                                     Case No.         Description: RE: GREGORIO VIGIL
                                                                                             RESENDIZ (EOB)




                                                    CRIMINAL COMPLAINT


          I, the complainant in this case, state that the following is true to the best of my knowledge and belief.

           On or about the date(s) of                   August 9,2023                in the county of.              Oakland     in the

         Eastern          District of        Michigan         ,the defendant(s) violated:

                    Code Section                                             Offense Description
Title 8, United States Code, Section 1326(a)              Unlawful Re-entry after Removal from the United States




           This criminal complaint is based on these facts:
On or about August 9, 2023 in the Eastern District of Michigan, Southern Division, Gregorio Vigil Resendiz, an alien from
Mexico was found in the United States after having been denied admission, excluded, deported, and removed therefrom
on or about April 24, 2018, and not having obtained the express consent of the Attorney General of the United States or
the Secretary of Homeland Security to re-apply for admission thereto; in violation of Title 8, United States Code, Section
1326(a).



El Continued on the attached sheet.
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                                                                        Dustyn Swendsen. Deportation Officer
                                                                                               Printed name and title
Sworn to before me and signed in my presence
and/or bv reliable electronic means.



Date;
                      August 21, 2023                                                            Judge's signature

City and state: Detroit. MI                                             David R. Grand. United States Magistrate Judge
                                                                                               Printed name and title
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                                   AFFIDAVIT




I, Dustyn Swendsen, declare the following under penalty of perjury:

1.    I am a Deportation Officer with the United States Department of Homeland
      Security, United States Immigration and Customs Enforcement(ICE). I have been
      employed in this capacity since May 2018. Currently, I am assigned to the
      Fugitive Operations Program. The facts set forth herein are based upon my
      personal knowledge as well as information provided by other law enforcement
      officers to include Immigration and Customs Enforcement Officers and record
      checks oflaw enforcement databases. I have also reviewed the Alien Registration
      File and system automated data relating to Gregorio VIGIL RESENDIZ; which
      attests to the following:

2.    VIGIL RESENDIZ is a forty-three-year-old male, native and citizen of Mexico,
      who last entered the United States at or near an unknown place, on or about an
      unknown date without begin admitted, inspected or paroled by an Immigration
      Officer.


3.    On or about October 27, 1999, the former US Immigration and Naturalization
      Service(USINS)arrested VIGIL RESENDIZ and served him with Form 1-862,
      Notice to Appear. On November 18, 1999, an Immigration Judge in Houston,
      Texas ordered VIGIL RESENDIZ removed to Mexico. On or about November 30,
      1999, USINS removed VIGIL RESENDIZ to Mexico.

4.    On or about April 5, 2010,ICE Detroit arrested VIGIL RESENDIZ and served him
      with Form 1-871, Notice ofIntent/Decision to Reinstate Prior Order. ICE removed
      VIGIL RESENDIZ to Mexico on April 20, 2010.

5.    On or about February 28, 2011,ICE HSI arrested VIGIL RESENDIZ and served
      him with Form 1-871, Notice ofIntent/Decision to Reinstate Prior Order. ICE
      removed VIGIL RESENDIZ to Mexico on May 10, 2011.

6.    On or about May 4, 2011, the US District Court for the Eastern District of
      Michigan convicted VIGIL RESENDIZ of8 USC 1326(a), Illegal Re-entry, and
      issued a sentence oftwo months (time served) incarceration.
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7.    On or about January 29,2015,the US Border Patrol(USB?)arrested VIGIL
      RESENDIZ and served him with Form 1-871, Notice ofIntent/Decision to
      Reinstate Prior Order.ICE ERO removed VIGIL RESENDIZ to Mexico on
      February 10, 2015.

8.    On or about April 16,2015,the US Border Patrol(USBP)arrested VIGIL
      RESENDIZ and served him with Form 1-871, Notice ofIntent/Decision to
      Reinstate Prior Order.ICE ERO removed VIGIL RESENDIZ to Mexico on July
      20,2015.

9.    On or about April 21, 2015,the US District Court for the Southern District of
      Texas convicted VIGIL RESENDIZ of8 USC 1325(a)(1), Illegal Entry, and issued
      a sentence of ninety days incarceration.

10.   On or about August 9, 2017,the US Border Patrol(USBP)arrested VIGIL
      RESENDIZ and served him with Form 1-871, Notice ofIntent/Decision to
      Reinstate Prior Order.ICE ERO removed VIGIL RESENDIZ to Mexico on April
      24, 2018.

11.   On or about February 6, 2018,the US District Court for the Eastern District of
      Michigan convicted VIGIL RESENDIZ of8 USC 1326(a), Illegal Re-entry, and
      issued a sentence of eight months incarceration

12.   On August 9,2023, VIGIL RESENDIZ was encountered by immigration officers
      in Pontiac, Michigan and subsequently taken into ICE custody. VIGIL
      RESENDIZ's fingerprints and photograph were captured and entered into the
      Automated Biometric Identification System(IDENT)and the Integrated
      Automated Fingerprint Identification System (lAFIS). The results revealed that
      VIGIL RESENDIZ is a citizen of Mexico who has been previously removed from
      the United States. The record checks did not provide any evidence that VIGIL
      RESENDIZ legally entered the United States or had been issued any legal
      immigration document to allow him to enter or remain the United States.

13.   The aforementioned arrest and subsequent detention was an administrative,
      non-criminal action made pursuant to the authority found in sections 1357,
      1225, 1226, and/or 1231 of Title 8, United States Code to arrest and detain
      any alien entering or attempting to enter the United States, or any alien
      present in the United States, who is reasonably believed to be in violation of
      any law or regulation regulating the admission, exclusion, expulsion, or
      removal of aliens.
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14.   Review of records from the Alien File(A# XXX XXX 621)for VIGIL
      RESENDIZ and queries in Department of Homeland Security databases
      confirm that no record exists of VIGIL RESENDIZ obtaining permission
      from the Attorney General or the Secretary of the Department of Homeland
      Security to re-enter the United States following his removal on April 24, 2018.

15.   Based on the above information,I believe there is probable cause to conclude
      that VIGIL RESENDIZ is an alien who was found in the United States after
      removal, without the express pennission from the Attorney General of the
      United States or from the Secretaiy ofthe Department of Homeland Security
      to re-apply for admission into the United States in violation of Title 8, United
      States Code, Section 1326(a).




                                               Dustyn Swendsen, Deportation Officer
                                               U.S. Department of Homeland Security


Sworn to before me and signed in my
presence and/or by reliable electronic means.




Honorable David R. Grand
Executive United States Magistrate Judge
August 21, 2023
